Case 2:05-cv-02237-BBD-dkv Document 13 Filed 08/11/05 Page 1 of 3 P.age|D 14

yjeg¢ D.C.
IN THE UNITED STATES DISTRICT COURT F“‘ED m "
FOR THE WESTERN DISTRICT OF TENNESSE&., we ` \ m g; 32

WESTERN DIVISION
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wm et tel leases
MABLE B, BEAL, deceased,

through
DEBORAH K. PUTNAM
and

MAYNARD BEAL,
Representatives,

RUTH M. SCHAEFFER, deceased
through

JAN FREEMAN and DOR]S BICKNELL
Representatives

Plaintif`fs,

vs. No.: 052237|-[)¢ \/

JURY DEMANDED
WALGREEN CO.,

Defendant.

 

ORDER GRANTING DEFENDANT LEAVE TO FILE REPLY TO PLAINTIFFS'
RESPONSE TO DEFENDANT'S MOTION FOR COURT TO DECLINE TO EXERCISE
JURISDICTION OR IN THE ALTERNATIVE, TO STAY THE PROCEEDINGS

 

This cause came to be heard upon the Motion of the Defendant for Leave to File Reply to
Plaintiffs' Response to Defendant'S Motion for Court to Decline to Exercise Jurisdiction or in the
Alternative, to Stay the Proceeclings. Based upon the pleadings filed herein, the Court is of the
opinion that said Motion is well taken and should be granted.

IT lS THEREFORE, ORDERED, ADJUDGED AND DECREED that the Defendant
shall be granted leave to file a Reply to Plaintifl°s Response to Dei`endant's Motion for Court to

Decline to Exercise Jurisdiction or in the Altemative, to Stay the Proceedings.

Thls document entered on the docket sheet fn compliance
with eula ss and/or rem FHCP on ~ ~O~‘-’>

 

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District Court ' . " ~".*.,";:!_" '=dge

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Date:

Approved as to Form:

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 13 in
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Honorable Bernice Donald
US DISTRICT COURT

